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                         Exhibit A
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                                                                                                   iÍV. C::^1^'1
                  IN THE STIPERIOR COURT OF LO\ryNDDS COMl!
                                        STATE or             cEORcrA                ?1i JUL _6 ¡¡t
                                                                                                            -l:
                                                                                                                  b6

   KENNEIiH JOHNSON ånd JACeITELhI                                                 ',1>,:J¿ C . iJ,',*1,,.',--
                                                                                                f lrr-1':afl SÍ,rf t
   JOHNSON,                                                                          CLStí r;
                                                         )
            Plaintitrs,
                                                         )

                                                         )
   vs.
                                                             CTVIL ACTION

   BRANDON BELI et al.,
                                                         )   FtrÆ NO .20t5 cv 7a6

                                                         )
            Dcfendants.

                                                         )




         Now coMEs KENNETTI JoFINsoN and JACQUELYì{ JoHNsoN
                                                                                        ptaintitrs in sr¡c¡
 action, priorto aoypretrial otder, and in the above-styled
                                                                actior¡ a¡nend their complaint as
 follows:

                                                     I
         By striking in their entÍrety plaint¡ffs' ,.pretimin¡ry
                                                                   St¡temenf, and substituting, in lieu
 üøco{, thef,ollowingr

                                       "Prclininny St¡temcnt
         Plaintifrs KENNEITI JoHNsoN and JACQuELyt{
                                                                     JoHNsoN are the parents of
Kenùick l¿¡nar Johnson, who was killed while
                                                     attending school on or about Jan¡ary
                                                                                            l0 2013 c
the l,or¡vndes High school rooated in valdosta,
                                                   Lowndes county, creorgia Defendants

BRANDoN BErr., BRLAN BELL, RYA¡I HALIå
                                                         JÆ.rE DoE and JoHN DoE, each
                                                                                            of whom
wore assisted by each other, as well as, certain
                                                   other unknown individuals, hereinaffer
                                                                                            identified
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as JANE DOE and JOHN DOE, deliberately, maliciously and unlawfully conspired to violently


assault and kill Kendrick Lamar Johnson, or in the alternative, to engage in negligent and


reckless conduct which led to the death of Kendrick Lamar Johnson. Plaintiffs also assert

through this action that Defendants BRANDON BELL, BRIAN BELL, RYAN HALL, JANE

DOE and JOHN DOE, each of whom were acting alone and independent of each other or in

concert with each other, deliberately, maliciously and unlawfully violently assaulted and killed

Kendrick Lamar Johnson, or in the altemative, engaged in negligent and reckless conduct which

led to the death of Kendrick Lamar Johnson. Plaintiffs also assert that Defendant RICK BELL, a

parent of Defendants BRANDON BELL and BRIAN BELL encouraged Defendants BRANDON

BELL and BRIAN BELL, as well as, certain other unknown individuals, hereinafter identified as

JANE DOE2 and JOHN DOE 2, to engage in negligent and reckless conduct which has led to

the death of Kendrick Lamar Johnson. As a ¡esult of the accomplishment of the aforesaid

conspiracy and resulting death of Kendrick Lamar Johnson, Defendants RICK BELL,

BRANDON BELL, BRLAN BELL, RYAN HALL, JANE DOE and JOHN DOE a¡e each liable

for the wrongful death of Kendrick Lamar Johnson.

       F'ollowing the aforementioned death of Kendrick Lamar Johnson, and by virtue of

Defendant RICK BELI-'s status a parent of Defèndants BRANDON BELL arui BRIAN BELL

and as a law enforcement offrcer and agent with the Federal Bureau of Investigation, Defendant

RICK BELL maliciously conspired and engaged in a deliberate and conupt effort to cover-up the

involvement of each of the defendants named herein, including but not limited to Defendants

BRANDON BELL and BRIAN BELL.

       Following the aforementioned death of Kendrick Lamar Johnson, and by virtue of

Defendant V/ILLIAM WESLEY "WES'TAYLOR's status as school superintendent of the
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Lowndes County School District and parent of students at Lowndes High School, maliciously

conspired and engaged in a deliberate and corrupt effort to cover-up the involvement of each of

the defendants named herein, including but not limited to Defendants BRANDON BELL,

BRIAN BELL, RYAN HALL, JANE DOE ANd JOHN DOE.

        Both Defendant RICK BELL and Defendant WILLIAM WESLEY "WES'TAYLOR,

with the assistance of Ch¡is Prine as Sheriffof Lowndes County, Georgia, Willialn Watson as

Coroner for Lowndes County, Georgia, Antonio Harringlon, as well as, each of the defendants

named herein, including but not limited to Defendants VERNON KEENAN, MARYANNE

GAFFNEY.KRAFT, KRISTEN PERRY, RODNEY BRYAN, LINDSAY MARCHANT, AMY

BRASWELL, MIKE CALLAHAN, STEVE TURNER, and STEVE OWENS, WhiIC ACtiNg iN

concert with each other, deliberately, maliciously conspired to unlawfully interfere with and

thereby frushate the rights of Plaintifis KENNETH JOHNSON and JACQUELYN JOHNSON to

have access to the courts ofthis state for purposes ofseeking legal redress.

       Each of the aforesaid defendants, including but not limited to Defendants BRANDON

BELL, BRIAN BELL, RICK BELL, RYAN HALL, JOHN DOE and JANE DOE, are liable to

plaintiffs based upon t}eir involvement in a conspiracy to cover up and protect against the

criminal and civil prosecution the direct or indirect involvement of certain individuals, regardless

of whether said individuals have been specifically identified herein, for causing the death of

Kendrick Johnson.

       In addition, and in the cowse of causing the aforesaid cover-up, each of the defendants

have caused plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON
                                                                                   to suffer great

physical and emotional pain, as well as, great expense and financial loss and, therefore, are liable

for intentional infliotion of emotional distess, as well as, certain other violations of state law."
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                                                   2.
        By sfiiking in their entirety Plaintiffs'FOURTH, FIFTH, SIXTH, SEVENTH and

EIGHTH CAUSES OF ACTION as they appear in PLAINTIFFS' FIRST AMENDMENT TO

COMPLAINT, Paragraphs 111 through 125 , inch¡sive, and substiruting, in lieu thereot and as

against Defendants VERNON KEENAN, KRISTEN PERRY' LINDSAY MARCHANT'

MIKE CALLAHAN, Al}{Y BRAS\ilELL, STEVE TURNER, DR. MARYANNE

GAFFNEY-KRAFT, and RODNEY BRYAI\ only, Paragraphs 111 through 125 the following:


                                 :.FQURTIT. CATISE OF ACTION
              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  (Only As Against Defend¡nts Vernon Keenan, Kristen Perry, Lindsay Marchant, Mike
 Callahan, Amy Braswell, Steve Turnef, Dr. Maryanne Gaffney-Kraft, and Rodney BIyan,
    Each in Their Individual and Oflicial Capacities, and Pursuant to the 1983 Georgia
                                   Constitution OnlY)


.       The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every

allegation contained in the preceding paragraphs and further allege:

        II   l. The Defendants VERNON KEENAN, KRISTEN PERRY, LINDSAY
MARCHANT, MIKE CALLAHA}I, AMY BRASWELL, STEVE TURNER, DR. MARYA}INE

GAFFNEY-KRAFT, and RODNEY BRYAN engaged in a conspiracy to cover up the

misconduct of certain individuals, including but not limited to defendants BRANDON BELL,

BRIAN BELL, and RICK BELL, and as aconsequence, was directed toward the Plaintiffs, as

described herein. As such, said defendants' conduct was intentional, unlawful, and malicious. It

is so outageous that it is not tolerated by civilized society.

        I12. As a direct rtnd proximate result of said Defendants' conduct, the Plaintiffs suffered

serious mental iqiuries and emotional distess that no reasonable person could be expected to

endure or adequately cope with.
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        116. Said Defendants' conduct, in their individual capacities, were so willful, wanton,

and malicious that plaintifß are entitled to punitive damages against them in their individual

capacities.




                                   sIxTH CAU SE O.*"n ACTIp*N
           CONSPIRACY TO COVER UP A F''AILURE TO INVESTIGATE
 (Only As Against Defendants Yernon Keenln, Kristen Perry, Lindsay Marchantr Mike
Callahan, Amy Braswell, Steve Turner, Dr. Maryanne Gaffney-Kraft' and Rodney Bryan,
   E¡ch in Their Individu¡l and OfÍicial Capacities, and Pursuant to the 1983 Georgia
                                  Constitution OnlY)

        . The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every

allegation contained in the preceding paragraphs and further allege:

        117. At all material times, the Defendants VERNON KEENAN, KRISTEN PERRY'

LINDSAY MARCHANT, MIKE CALLAHAN, AMY BRASWELL, STEVE TURNER' DR.

MARYANNE GAFFNEY-KRAFT, and RODNEY BRYA¡¡ owed a duty to intervene and

prevent or report ths failure of d-efendant members ofthe Lowndes County Sherifls Departnrent,

including but not limited to Defendant CHRIS PRINE, to conduct a proper criminal investigation

into the death of plaintiffs decedent, Kendrick Johnson.

        118. To the extent that such failure on the pa¡t of said defendant members of the Lowndes

County Sheriffs Deparbnent involved a conspiracy to hide or cover up the involvement
                                                                                              of

persons responsible forthe death of Kendrick Johnson, Defendants VERNON KEENAN'

KRISTEN PERRY, LINDSAY MARCHANT, MIKE CALLAHAN, AMY BRASWELL'

STEVE TURNER, DR. MARYANNE GAFFNEY.KRAFT, ANd RODNEY
                                                                                 BRYANJOiNEd iN


said conspiracy, or, in the alternative, conspired amongst themselves
                                                                         to hide or cover up the

                                                                                 including but not
failure of defendant members of the Lowndes County Sheriffs Department,
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limited to Defendant CHRIS PRINE, to conduct a proper criminal investigation into the death of

plaintiff s decedent, Kendrick Johnson.

        I19. Said Defendants' conduct, in their individual capacities, were so willful, wanton,

and malicious that plaintiffs are entitled to punitive damages against them in their individual

capacities.




                             SEVtrNTH CAU$E OF ACIIoN
  CONSPIRACY      TO  DEPRIVE    PLAINTIFFS OT THEIR DUE PROCESS RIGHT TO
                              ACCESS TO THE COURTS
  (Only As Against Defendants Vernon Keenan, Kristen Perry, Lindsay Marchant, Mike
 Callahan, Amy Braswell, Steve Turrrer, Dr. Maryanne Gaffney-Kraft, and Rodney Bryan'
    E¡ch in Their Individu¡t and Oflicial Capacities, and Pursu¡nt to the 1983 Georgia
                           Constitution, Article 1' $1' ï I Onty)

        . The Ptaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragmphs and further allege:

        120. At all material times, the Defendants VERNON KEENAN, KRISTEN PERRY,

LINDSAY MARCHANT, MIKE CALLAHAN, AMY BRASWELL, STEVE TURNER, DR.

MARYAI{NE GAFFNEY-KRAFT, and RODNEY BRYANI owed a duty to intervene and

prevent or report the failure of defendant members of the Lowndes County Sheriffs Deparûnent,

including but not limited to Defendant CHzuS'PRINE, to oonduct a proper criminal investþation

into the death ofplaintiffs' decedent, Kendrick Johnson'

        l2l.Tothe extent that such failure on the part of said defendant members of the Lowndes

County Sheriffs Deparfinent involved a conspiracy to deprive plaintiffs of their due process right

to have access to the cou¡1s to litigate the underlying misconduct of not only those persons who

were responsible for the death of plaintiffs' decedent, Kendrick Johnson, but also defendant

members of the Lowndes County Sheriffs Deparünent, including but not limited to Defendant
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CHRIS PRINE, for their conspiracy to prevent the proper prosecution of such individuals,

Defendants VERNON KEENAN, KRISTEN PERRY, LINDSAY MARCHANT, MIKE

CALLAHAN, AMY BRASWELL, STEVE TURNER, DR. MARYANNE GAFFNEY-KRAFT,

and RODNEY BRYAN joined in said conspiracy, or, in the alternative, conspired arnongst

themselves deprive plaintiffs of their due process right to litigate the aforesaid misconduct.

        122. Said Defendants' conduct, in their individual capacities, were so willful, wanton,

and malicious that plaintiffs a¡e entitled to purritive damages against them in their individual

capacities.




                            EIG..HTH CAUSE OF ACTIgN
CONSPIRACY TO DEPRIVE PLAINTIFFS OF EQUAL PROTECTION OF THE LA\ryS
  OR OF EQUAL PRIYILEGES AND IMMUNITIES UNDER TIIE LAWS AND TO
      PROPERLY INVESTIGATE BASED UPON DISCRIMINATORY AIìIMUS
 (Only As Against Defendonts Vernon Keenan, Kristen Perty, Lindsay Marchant, Mike
Callahan, Amy Braswell, Steve Turner, Dr. Malyanne Gaffney-Kraft, and Rodney Bryan,
   Each in Their Individual and Oflicial Capacities, tnd Pursuant to the 1983 Georgia
                          Constitution, Article 1' $l' f 2 Only)

        . The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
altegation contained in the preceding paragraphs and further allege:

        123. Atall material times, the Defendants VERNON KEENAN, KRISTEN PERRY,

LINDSAY MARCHANT, MIKE CALLAHAN, AMY BRASWELL, STEVE TURNER, DR.

MARYANNE GAFFNEY-KRAFT, and RODNEY BRYAN owed a duty to conduct a proper

criminal investigation into the death of plaintiffs' decedent, Kendrick Johnson, or more

specifically, the misconduct of certain individuals, including but not limited to defendants

BRANDON BELL, BRIAN BELL, ANd RICK BELL.

        l24.Tothe extent that plaintiffs are AÍïican-Americans, said defendants sought to engage
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in a conspiracy to hide or cover up the misconduct of persons responsible for the death of

plaintiffs' decedent, as well as, the misconduct of deprive plaintifß of defendant members of the

Lowndes County Sheriffs DeparÍnent, including but not limited to Defendant CHzuS PRINE,

for their conspiracy to prevent the proper investigation and prosecution of any such individuals,

Defendants VERNON KEENAN, KRISTEN PERRY, LINDSAY MARCHANT, MIKE

CALLAHAN, AMY BRASWELL, STEVE TURNER, DR. MARYANNE GAFFNEY-KRAFT,

and RODNEY BRYAN violated plaintiffs' right to equal protection of the laws or of equal

privileges and immunities under the law based upon and motivated by plaintiffs' raca.

        125. Said Defendants' conduct, in their individual capacities, were so willful, wanton,

and malicious that plaintiffs are entitled to punitive damages against them in their individual

capacities."

       This ,á* dayof July20l5.
                                                      THE C.B. KTN         W FIRM

                                                      ts
                                                                      B. King, Jr
                                                             Attorney for Plaintifß
Prepared by:                                                 State BarNo.: 420105
Chevene B. King, Jr.
Post Office Drawer 3468
Albany, GA 31706
(229)ß6-As24
 Case 7:16-cv-00141-WLS             Document 50-1    Filed 11/28/16           Page 10 of 10




                             CERTIFLCATE OF SERVIÇE

      I hereby certifu that I have served PLAINTIFFS' SECOND AMENDMENT TO

COMPLAINT, by U.S. Mail on the following counsel of record:


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                ffri, ¿.f¿uv of June 2015

                                                THE C.B. KING            V/ FIRM

                                                BY
                                                                               Jr
                                                       .4 ttorne¡*   for PlaintifÏs
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